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                                       UNITED STATES BANKRUPTCY COURT
                                        SOUTHERN DISTRICT OF FLORIDA
                                                 MIAMI DIVISION

In re:                                                                                     CASE NO.: 11-45231-BKC-RAM
                                                                                           Chapter 7
ANGEL LAGE
SSN: XXX-XX-0063
MARLENE LAGE
SSN: XXX-XX-9727
     Debtors.                             /

                JOEL L. TABAS TRUSTEE’S MOTION FOR ENTRY
            OF ORDER APPROVING SALE OF ESTATE’S RIGHT, TITLE
      AND INTEREST IN PERSONAL PROPERTY FREE AND CLEAR OF LIENS,
     CLAIMS AND ENCUMBRANCES SUBJECT TO HIGHER AND BETTER OFFER

           Joel L. Tabas, as Chapter 7 Trustee (the “Trustee”) of the Bankruptcy Estate of

Angel Lage and Marlene Lage (collectively, the “Debtors”), through counsel and

pursuant to 11 U.S.C. §§ 105 and 363, Federal Rules of Bankruptcy Procedure 2002,

6003 and 6004, and Local Rule 6004-1(D), files his Ex Parte Motion for Entry of Order

Approving Sale of Estate’s Right, Title and Interest in Personal Property Free and Clear

of Liens, Claims and Encumbrances Subject to Higher and Better Offer (the “Motion”),

seeking to sell two Seiko watches, a woman’s high school ring, a man’s high school

ring, a gold ring, and a diamond engagement band (the “Sale Items”), and as good

cause for same, states as follows:

                                               I.         Jurisdiction and Venue

           1.         The Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157

and 1334.

           2.         This is a “core” proceeding pursuant to 28 U.S.C. § 157(b)(2)(A) and (N).

           3.         Venue is proper in this jurisdiction pursuant to 28 U.S.C. §§ 1408 and

1409.



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                                   II.         Procedural and Factual Background

           4.         This case commenced with the filing of a voluntary Chapter 7 Petition on

December 28, 2011 [ECF 1]. Joel L. Tabas is the duly appointed Chapter 7 Trustee.

           5.         In connection with the settlement of this matter as described in the

Trustee’s Motion to Approve Stipulation for Compromise and Settlement Regarding

Valuation and Repurchase of Debtors’ Non-Exempt Assets [ECF 38], which was

approved by the Court without objection on [ECF 45], the Debtors repurchased their

non-exempt property for a lump sum payment of $44,817.34 and tendered to the

Trustee the Sale Items.

           6.         The Sale Items include two non-working Seiko watches with a combined

valued of $50.00, a woman’s high school ring valued at $45.00, a man’s high school

ring valued at $100.00, a gold ring valued at $120.00 and a diamond engagement band

valued at $1,350.00. The aggregate value of the Sale Items is $1,665.00.

           7.         The Sale Items are not subject to a lien from any creditor.

           8.         Pursuant to 11 U.S.C. § 363, the Trustee proposes to sell the Estate’s

right, title and interest in the Sale Items, free and clear of all liens, claims and

encumbrances and outside of the ordinary course of business, at a hearing at the

United States Bankruptcy Court, Southern District of Florida, 51 S.W. First Avenue,

Courtroom 1410 (the “Sale”).

                                                   III.       The Proposed Sale

           9.         The Trustee received an offer from Jack Kotkin to purchase the Sale

Items, “AS-IS, WHERE-IS” with no warranties or representations of any, but free and

clear of all liens, claims and encumbrances, for the sum of $1,665.00 to be paid in one,

lump sum.




                                                                         2
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              10.            Jack Kotkin has agreed that (i) he shall be responsible for the payment of

any and all fees and taxes imposed by any governmental agency arising from or relating

to the proposed sale, including but not limited to sales tax and (ii) the only documents

necessary for the Trustee to convey title to the Sale Items shall be (1) a final, non-

appealable order from this Court approving the proposed sale (the “Approval Order”)

and (2) an executed Trustee’s Bill of Sale.1

              11.            The Trustee has accepted the Offer, subject to (i) this Court’s approval

and (ii) higher and better offers as required by 11 U.S.C. § 363.

              12.            The Proposed Sale of the Estate’s right, title and interest in the

Personal Property is “AS-IS, WHERE-IS,” with no warranties or represntations of

any kind being given by the Trustee and/or his professionals, but free and clear of

all liens, claims and encumbrances.

              13.            The Trustee believes that the Proposed Sale is the best way to monetize

the Estate’s right, title and interest in the Sale Items, and thus, the Trustee asserts that

the Proposed Sale to Jack Kotkin, or a higher bidder, is in the best interest of the Estate

and all creditors.

                                                               IV.    Requested Relief

              14.            Accordingly, the Trustee requests this Court to approve the Proposed Sale

outside of the ordinary course of business, pursuant to 11 U.S.C. § 363(b), which

states: “[t]he Trustee, after notice and hearing, may use, sell, or lease, other than in the

ordinary course of business, property of the estate.”



                                                            
              1
                  The terms and conditions set forth in Paragraphs 43 and 44 of this Motion shall be
collectively referred to as the “Proposed Sale.” 
                                                                              3
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           15.        The Trustee will serve copies of this Motion together with any notices as

required by Rules 6004 and 2002(a)(2) of the Federal Rules of Bankruptcy Procedure,

and Local Rule 6004-1.

           16.        The Trustee can sell the property interests of the Debtors pursuant to 11

U.S.C. § 363(h).

     A.          Jack Kotkin’s Bid

           17.        Jack Kotkin’s bid shall be $1,665.00 for the Sale Items (the “Initial Bid”).

The Initial Bid is for all of the Sale Items.

     B.          Consideration of Competing Bids

           18.        Pursuant to 11 U.S.C. § 363, the Proposed Sale is subject to higher and

better offers.

           19.        At the hearing on this Motion (the “Hearing”), the Court shall select the

highest and best bid for the Sale Items, after considering the recommendations of the

Trustee and other interested parties.

     C.          Requested Bid Procedures

           20.        Any party wishing to submit a higher and better offer for the Sale Items

shall be required to provide a bid deposit of $500.00 in the form of a cashier’s check or

money order at the Hearing made payable to “Joel L. Tabas, Trustee,” and delivered to

1 N.W. First Avenue, Penthouse, Miami, Florida 33131, if the Proposed Sale is

approved without a hearing.

           21.        Any party wishing to submit a higher and better offer for the Sale Items

must also disclose any affiliation with (i) the Debtors or (ii) the Debtors’ insiders (as

defined by the Bankruptcy Code) on the record at the commencement of the Hearing.



                                                                         4
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           22.        The Trustee recommends that the bidding be conducted at the Hearing in

$50.00 increments.

     D.          Other Conditions

           23.        Further, unless otherwise ordered by this Court, any successful bidder

other than Jack Kotkin must agree on the record at the Hearing to purchase the Sale

Items on the terms and conditions set forth in this Motion, and be ready, willing and able

to close within three (3) business days of entry of the Approval Order.

     E.          Closing

           24.        The Trustee seeks authority to close on the Proposed Sale immediately

upon Court approval, with Jack Kotkin or the successful bidder, required to close within

three (3) business days of the Approval Order. Closing shall occur when the successful

bidder tenders the successful bid price in a lump sum to the Trustee in the manner

specified in this Motion. If Jack Kotkin, or the successful bidder, as the case may be,

fails to timely close, the Trustee seeks authority to close the sale transaction with the

next highest bidder (the "Back-up Bidder").                                     The Back-up Bidder shall similarly be

required to close within three (3) business days of written notification from the Trustee

that the successful bidder failed to close pursuant to the terms herein.

           25.        Accordingly, the Trustee requests that the final sale order include a

provision waiving the 14 day stay requirement subject of Rule 6004(h).

     F.          Legal Standard for Sale Free and Clear

           26.        Section 363(b) of the Bankruptcy Code states: "The trustee, after notice

and hearing, may use, sell, or lease, other than in the ordinary course of business,

property of the estate."


                                                                         5
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              27.            Additionally, 11 U.S.C. § 363(f) permits the Trustee to:

                             ... sell property under subsection (b)... of this section free
                             and clear of any interest in such property of an entity other
                             than the estate, only if –
                                     (1)     applicable nonbankruptcy law permits sale of
                             such property free and clear of such interest;
                                     (2)     such entity consents;
                                     (3)     such interest is a lien and the price at which
                             such property is to be sold is greater than the aggregate
                             value of all liens on such property;
                                     (4)     such interest is in bona fide dispute; or
                                     (5)     such entity could be compelled, in a legal or
                             equitable proceeding, to accept a money satisfaction of such
                             interest.

              28.            The Trustee may sell the Sale Items free and clear of liens and interests in

such property, because applicable non-bankruptcy law permits the sale in accordance

with §363(f)(1), because the creditors with competing interests therein have consented

pursuant to §363(f)(2), because the claimed interests are subject to a bona fide dispute,

in accordance with §363(f)(4), and because these creditors could be compelled, in a

legal or equitable proceeding, to accept a money satisfaction of such interest, pursuant

to §363(f)(5).

       G.             Sound Business Purpose

              29.            With respect to satisfying the elements of the "sound business purpose"

test,2 the Trustee asserts that the proposed sale is the best way to realize any benefit

for this Estate. In addition, creditors and other parties in interest will receive accurate

and reasonable notice of the terms of the Proposed Sale and proposed procedures

through this Motion.




                                                            
              2
                             See In re Continental Airlines, Inc., 780 F.2d 1223,1226 (5th Cir. 1986).
                                                                         6
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     H.          Good Faith Finding

           30.        The Trustee intends to provide evidence at the final sale hearing that the

Trustee, and Jack Kotkin, or the successful bidder, as the case may be, have, at all

times, acted in good faith, and therefore requests that this Court make a finding that the

successful bidder is a good faith purchaser pursuant to 11 U.S.C. § 363(m).

           31.        Finally, the Trustee seeks authority to execute any and all documents he

deems reasonable and necessary to effectuate the sale and transfer of the Sale Items

to the successful bidder.

           WHEREFORE, Joel L. Tabas, as Chapter 7 Trustee of the Bankruptcy Estate of

Angel Lage and Marlene Lage, respectfully requests this Honorable Court enter an

Order: (a) granting the instant Motion; (b) authorizing and approving the immediate sale

of the Estate’s right, title and interest in the Sale Items pursuant to § 363 of the

Bankruptcy Code, free and clear of any liens, claims and encumbrances; (c) waiving the

14 day stay pursuant to Bankruptcy Rule 6004(h); and (d) granting such other and

further relief as this Court deems just and proper.




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                                                  CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that a true and correct copy of the foregoing was furnished on

March 4, 2013, to the parties who are currently on the list to receive e-mail notice/service for

this case, and via U.S. Mail to all interested parties on the attached service list.

                                                                    Respectfully submitted,
                                                                    /s/ Joel L. Tabas
                                                                    Joel L. Tabas
                                                                    Fla. Bar No. 516902
                                                                    Tabas, Freedman, Soloff, Miller & Brown, P.A.
                                                                    Attorneys for Trustee, Joel L. Tabas
                                                                    One Flagler Building
                                                                    14 Northeast First Avenue - Penthouse
                                                                    Miami, Florida 33132
                                                                    Telephone: (305) 375-8171
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(p)FIRST FLORIDA CREDIT UNION            (p)INTERNAL REVENUE SERVICE               (p)SPRINGLEAF FINANCIAL SERVICES
P O BOX 43310                            CENTRALIZED INSOLVENCY                    P O BOX 3251
JACKSONVILLE FL 32203-3310               OPERATIONS                                EVANSVILLE IN 47731-3251
                                         PO BOX 7346
                                         PHILADELPHIA PA 19101-7346


(p)TOYOTA MOTOR CREDIT                   Allied Interstate                         Amerassist
CORPORATION                              P.O. Box 5023                             ATTN: KOVACKS
PO BOX 8026                              New York, NY 10163-5023                   460 Polaris Parkway        Ste. 20
CEDAR RAPIDS IA 52408-8026                                                         Westerville, OH 43082-8213



American Honda Finance                   Amex                                      Amex
1030 Cambridge Squ                       AMERICAN EXPRESS SPECIAL                  Po Box 297871
Alpharetta, GA 30009-1892                RESEARCH                                  Fort Lauderdale, FL 33329-7871
                                         Po Box 981540
                                         El Paso, TX 79998-1540


Angel Lage                               Assoc of S Miami, Patholo                 Bank Of America
10478 NW 131st St                        C/O First Federal Credit Control          4161 Piedmont Pkwy
Hialeah,, FL 33018-1129                  24700 Chagrin Blvd Ste 205                Greensboro, NC 27410-8119
                                         Cleveland, OH 44122-5662



Bank Of America                          Bank Of America                           Bank Of America
ATTENTION: RECOVERY DEPARTMENT           ATTN: BANKRUPTCY NC4-105-0299             NY7-201-02-07
4161 Peidmont Pkwy.                      Po Box 26012                              5701Horarion St
Greensboro, NC 27410-8110                Greensboro, NC 27420-6012                 Utica, NY 13502-1024



Bank Of America                          Bank Of America                           Bank Of America
P.O. Box 940483                          Po Box 1598                               Po Box 17054
Simi Valley, CA 93094-0483               Norfolk, VA 23501-1598                    Wilmington, DE 19850-7054
                                                                                   (With New Address)



Bank of America                          Bank Of America, N.a.                     Bank Of America, N.a.
P.O. Box 982238                          150 Allegheny Center Mall                 201 N Tryon St
El Paso, TX 79998-2238                   Pittsburgh, PA 15212-5335                 Charlotte, NC 28202-2146




Bank Of America, N.a.                    Bank Of America, N.a.                     Bank Of America, N.a.
4161 Piedmont Parkway                    450 American St                           ATTN: BANKRUPTCY NC4-105-0299
Greensboro, NC 27410-8119                Simi Valley, CA 93065-6285                Po Box 26012
                                                                                   Greensboro, NC 27420-6012



Bank Of America, N.a.                    Bk Of Amer                                Bk Of Amer
PNC                                      ATTENTION: RECOVERY DEPARTMENT            Po Box 1598
Po Box 5570 Br-yb58-01-3                 4161 Peidmont Pkwy.                       Norfolk, VA 23501-1598
Brecksville, OH 44141                    Greensboro, NC 27410-8110



CBE Group                                Cap One                                   Cap One
1309 Technology Pkwy                     CAPITAL ONE BANK (USA) N.A.               Pob 30281
Cedar Falls, IA 50613-6976               Po Box 30285                              Salt Lake City, UT 84130-0281
                                         Salt Lake City, UT 84130-0285
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Catalina Isles Condomium Association,Inc   Cbna                                       Cbna
2180 W Sr 434 Ste 5000                     CITICORP CREDIT SERVICES/ATTN:             Po Box 6497
Longwood, FL 32779-5042                    CENTRALIZ                                  Sioux Falls, SD 57117-6497
                                           Po Box 20363
                                           Kansas City, MO 64195-0363


Central Loan Admin And R                   Chase                                      Chase
425 Phillips Blvd.                         201 N. Walnut St//de1-1027                 2500 Westfield Dr
Ewing, NJ 08618-1430                       Wilmington, DE 19801-2920                  Elgin, IL 60124-7836




Chase                                      Chase Auto                                 Chase Auto
ATTN: BANKRUPTCY                           CHASE CARD SERVICES                        Po Box 901076
Po Box 15145                               Po Box 15298                               Fort Worth, TX 76101-2076
Wilmington, DE 19850-5145                  Wilmington, DE 19850-5298



Chase Manhattan Mtge                       Child Support Enforcemment                 Citi
3415 Vision Dr                             PO Box 8030                                ATTN: CENTRALIZED BANKRUPTCY
Columbus, OH 43219-6009                    Tallahassee, FL 32314-8030                 Po Box 20507
                                                                                      Kansas City, MO 64195-0507



Citi                                       Citi                                       Citi Ctb
CITICORPS CREDIT                           P.o. Box 6500                              CITIFINANCIAL/ATTN: BANKRUPTCY
SERVICES/ATTENTION: CEN                    Sioux Falls, SD 57117-6500                 DEPT
Po Box 20503                                                                          Po Box 140489
Kansas City, MO 64195-0503                                                            Irving, TX 75014-0489


Citi Ctb                                   CITI                                       Citi-shell
Po Box 22066                               P.O. Box 183071                            ATTN.: CENTRALIZED BANKRUPTCY
Tempe, AZ 85285-2066                       Columbus, OH 43218-3071                    Po Box 20507
(With New Address)                                                                    Kansas City, MO 64195-0507



Citi-shell                                 Directv                                    Dpi Of Pembroke Pines
Po Box 6497                                PO Box 78626                               C/O Amerassist
Sioux Falls, SD 57117-6497                 Phoenix, AZ 85062-8626                     8415 Pulsar Place
                                                                                      Columbus, OH 43240-4033



Eldorado Frn                               Eldorado Frn                               Equifax
BANKRUPTCY                                 Cscl Dispute Team                          PO Box 740241
4137 121st St                              Des Moines, IA 50306                       Atlanta, GA 30374-0241
Urbandale, IA 50323-2310



Experian                                   First Usa Bank                             First Usa Bank
PO Box 2002                                CHASE CARD SERVICES/ATTN:                  Po Box 8650
Allen, TX 75013-2002                       BANKRUPTCY DEP                             Wilmington, DE 19899
                                           Po Box 15298
                                           Wilmington, DE 19850-5298


FirstBank Puerto Rico                      Florida Department Of Revenue              Francisco Rodriguez
701 Waterford Way Ste 810                  PO Box 6668                                5051 SW 163 Ave
Miami, FL 33126-4684                       Tallahassee, FL 32314-6668                 SW Ranches, FL 33331-1433
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Gecrb/brandsmart                        Gecrb/brandsmart                          Gecrb/care Credit
ATTENTION: BANKRUPTCY                   Po Box 965036                             ATTENTION: BANKRUPTCY
Po Box 103104                           Orlando, FL 32896-5036                    Po Box 103104
Roswell, GA 30076-9104                                                            Roswell, GA 30076-9104



Gecrb/care Credit                       Gecrb/care Credit                         Gecrb/carecr
Po Box 965036                           Po Box 981439                             ATTENTION: BANKRUPTCY
Orlando, FL 32896-5036                  El Paso, TX 79998-1439                    Po Box 103104
                                                                                  Roswell, GA 30076-9104



Gecrb/carecr                            Gecrb/city Furniture                      Gecrb/city Furniture
Po Box 981439                           ATTENTION: BANKRUPTCY                     Po Box 981439
El Paso, TX 79998-1439                  Po Box 103104                             El Paso, TX 79998-1439
                                        Roswell, GA 30076-9104



Gecrb/ge Money Bank Lo                  Gecrb/ge Money Bank Lo                    Gecrb/home Design
ATTENTION: BANKRUPTCY                   Po Box 956005                             Po Box 981439
DEPARTMENT                              Orlando, FL 32896-0001                    El Paso, TX 79998-1439
Po Box 103104
Roswell, GA 30076-9104


Gecrb/home Dsgn Floori                  Grisel Alonso, Esq                        Hfc
Po Box 981439                           Asst. U.S. Attorney For Usa               Po Box 3425
El Paso, TX 79998-1439                  99 Ne 4th St Ste 300                      Buffalo, NY 14240-3425
                                        Miami, FL 33132-2131



Hfc - Usa                               I C System Inc                            Inphynet South Broward, Inc.
Po Box 3425                             Po Box 64378                              Platation Billing Center
Buffalo, NY 14240-3425                  St. Paul, MN 55164-0378                   PO Box 189016
                                                                                  Plantation, FL 33318-9016



Jaguar Credit                           Jaguar Credit                             Jorge Quintana
P. O. Box 542000                        Po Box 6275                               8785 NW 162 Street
Omaha, NE 68154-8000                    Dearborn, MI 48121-6275                   Miami Lakes, FL 33018-6110




Jose Quintana                           Jose Ramirez                              Jose Ramirez
8004 NW 154th Street Ste 243            5001 SW 168 Avenue                        2925 N.W. 125th Avenue, Apt. 325
Miami Lakes, FL 33016-5814              SW Ranches, FL 33331-1207                 Ft. Lauderdale, Fla. 33323-6322
                                        (With New Address)



Julio Quintana                          Kevin Krippen                             Keybank Ntl
3120 SW 194 Terrace                     4 Park Street South                       4910 Tiedeman Road
Miramar, FL 33029-5811                  Hackendack, NJ 07606-1623                 Brooklyn, OH 44144-2338




Law Offices of David J. Stern, P.A.     Lexus Financial Servic                    Marlene Lage
900 S Pine Island Rd Ste 400            12735 Morris Rd                           10478 NW 131st St
Plantation, FL 33324-3920               Alpharetta, GA 30004-8904                 Hialeah,, FL 33018-1129
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Marzak, Inc                              Mayors Jewelers Inc                        Mb Fin Svcs
791 Park Of Commerce Drive               5870 North Hiatus Road                     P.o. Box 961
Boca Raton, FL 33487-3621                Tamarac, FL 33321-6424                     Roanoke, TX 76262-0961




Memorial Healthcare System               Morales Law Group, P.A.                    Mortgage Electronic Regist. Syst. Inc.
2900 Corporate Way                       14750 Nw 77th Ct Ste 303                   3300 SW 34th Ave Ste 101
Miramar, FL 33025-3925                   Miami Lakes, FL 33016-1537                 Ocala, FL 34474-4438




Nationwide Recovery Se                   Palm Bay 17, Llc                           Plaza Associates
ATTN: BANKRUPTCY                         8004 Nw 154th St Ste 243                   PO Box 2770
Po Box 8005                              Miami Lakes, FL 33016-5814                 New York, NY 10116-2770
Cleveland, TN 37320-8005



Radiology Assoc. Of Hollywood, P.A.      Recovery Management Systems Corp           Sears/cbna
9050 Pines Blvd Ste 200                  25 SE 2 Ave #1120                          Po Box 6189
Pembroke Pines, FL 33024-6456            Miami, FL 33131-1605                       Sioux Falls, SD 57117-6189




Sheldon M.D.                             Sheridan Healthcorp Inc.                   Sunrise Credit Services, Inc.
C/O First Federal Credit C               C/O Nationwide Recovery Se                 PO Box 9100
24700 Chagrin Blvd Ste 2                 Po box 8005                                Farmingdale, NY 11735-9100
Cleveland, OH 44122-5647                 Cleveland, TN 37320-8005



Suntrust Bank                            Teresa Quintana                            Thompson Berges P.A.
Po Box 85052                             3120 SW 194 Terrace                        1111 Brickell Ave, 11th Fl
Richmond, VA 23285-5052                  Miramar, FL 33029-5811                     Miami, FL 33131-3122




Timothy S Kingcade Esq                   Towncare Dental                            Transunion
1370 Coral Way                           C/O I C System Inc                         PO Box 1000
Miami, FL 33145-2960                     Po Box 64378                               Chester, PA 19016-1000
                                         Saint Paul, MN 55164-0378



Vincent And Christina Lombardo           Vincent Lombardo & Christina Lombardo      Wells Fargo Bank Na
689 SW 168 Way                           689 SW 168 Way                             Po Box 31557
Pembroke Pines, FL 33331                 Pembroke Pines, FL 33027-1041              Billings, MT 59107-1557




Wells Fargo Bank Nv Na                   Wells Fargo Bank Nv Na                     Wf/wb
CALL 800-225-5935                        Po Box 31557                               PO BOX 31557
Choose Account Type In Automated         Billings, MT 59107-1557                    Mac B6955-01b
Attenda                                                                             Billings, MT 59107-1557
Des Moines, IA 50306


Wf/wb                                    Wffnatbank                                 Whispering Palms Condo Association
Po Box 3117                              Po Box 94498                               13200 Wilcox Rd
Winston Salem, NC 27102-3117             Las Vegas, NV 89193-4498                   Largo, FL 33774
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Whispering Palms Condominium Assn
13200 WIlcox Road
Largo, FL 33774
